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 9
                               UNITED STATES DISTRICT COURT
10
                              NORTHERN DISTRICT OF CALIFORNIA
11
                                   SAN JOSE COURTHOUSE
12
   ROSARIO MADRIGAL; SABAS RANGEL;            Case No. C06-01407 RS
13 and MARIA BUELL,
                                              Consolidated with:
14                Plaintiffs,                 Case No. C 06-1730 JW

15              vs.                                  Assigned for all purposes to:
                                                     Hon. James Ware
16 THE COUNTY OF MONTEREY, a
   governmental corporation formed under the        MADRIGAL PLAINTIFFS’ REPLY BRIEF
17 laws of the State of California; THE BOARD
   OF SUPERVISORS OF THE COUNTY OF
18 MONTEREY; and TONY ANCHUNDO, in his
   official capacity as the Registrar of Voters for
19 the County of Monterey,                          Hearing:
                                                    Date: March 21, 2006
20                 Defendants.                      Time: 10:00 a.m.
                                                    Dept.: 8
21
   WILLIAM MELENDEZ; et al.,                        Date Action Filed: February 24, 2006
22                                                  Trial Date: None Set
                   Plaintiffs/Petitioners,
23
            vs.
24
   BOARD OF SUPERVISORS OF THE
25 COUNTY OF MONTEREY; et al.,

26                         Defendants/Respondents.

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 1                          REPLY MEMORANDUM OF POINTS AND AUTHORITIES

 2                         IN SUPPORT OF MADRIGAL PLAINTIFFS’ REQUEST FOR A

 3                                       PRELIMINARY INJUNCTION

 4

 5                                                        I.

 6                                                 ARGUMENT

 7              The Madrigal Plaintiffs hereby submit this memorandum of points and authorities in reply

 8 to the Melendez Plaintiffs’ motion for preliminary injunction.1

 9              The Melendez Plaintiffs’ memorandum filed on March 17, 2006 (“Melendez Plaintiffs’

10 March 17 Memorandum”) raises virtually no issues that were not adequately addressed by the

11 Madrigal Plaintiffs’ March 17, 2006 briefs. Therefore, the Madrigal Plaintiffs will only briefly

12 address several points in this memorandum that bear emphasis.

13              The Melendez Plaintiffs’ March 17 Memorandum is based in several false premises and

14 straw men. Each will be addressed below.

15              The first straw man erected by the Melendez Plaintiffs is their attempt to direct the Court

16 away from Ninth Circuit case law, towards the Tenth Circuit and Eleventh Circuit cases of

17 Montero v. Meyer, 861 F.2d 603 (10th Cir. 1988) and Delgado v. Smith, 861 F.2d 1489 (11th Cir.

18 1988). In their effort to direct the Court’s attention away from Padilla v. Lever, 429 F.3d 910 (9th

19 Cir. 2005) and Zalvidar v. Los Angeles, 780 F.2d 823 (9th Cir. 1986), the Melendez Plaintiffs claim
20 that Colorado and Florida law allow for intrusive State regulation on par with the initiative

21 provisions involved here, and that this Court should therefore ignore Padilla and Zalvidar in favor

22 of the Tenth and Eleventh Circuit holdings. The Melendez Plaintiffs are simply wrong, on

23 multiple fronts. Indeed, the Ninth Circuit resolved this issue nearly twenty years ago in Zalvidar,

24 where it stated:

25              The election itself is merely the culmination of the electoral process. The range of

26
     1
27     On March 17, 2006, the Melendez Plaintiffs filed a memorandum of points and authorities in
   support of their request for an injunction. The Madrigal Plaintiffs are assuming that the Melendez
28 Plaintiffs’ MPA will also serve as an opposition to the Madrigal Plaintiffs’ request for an
   injunction also filed on March 17, 2006 and therefore reply to that brief with this memorandum.

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 1              conduct “relating to the electoral process” includes, for example, compliance by

 2              a would-be voter with statutes regulating registration and compliance with other

 3              statutes to place a name or an issue on the ballot. That the state or a political

 4              subdivision has mandated by law that certain preliminary steps be taken by the

 5              would-be voter, the candidate for office, or the proponents of an issue does not in

 6              any sense absolve the governmental entity of its responsibility under the Voting

 7              Rights Act. Such compelled acts are far removed from those voluntarily

 8              undertaken by a candidate, such as the printing of campaign literature.

 9 Zalvidar, 780 F.2d at 833 (emphasis added). The Court’s reference to “the proponents of an
10 issue” clearly refers to California’s initiative process. Indeed, the Melendez Plaintiffs’ current

11 counsel was the same counsel who argued for such a broad reading of the Voting Rights Act in

12 Zalvidar. By preparing (at State expense) a title and summary that is required to be on multiple

13 pages of the Initiative, by the express terms of the analyses contained in both Zalvidar and

14 Padilla, initiative measures are subject to the multiple language requirements of the Voting Rights

15 Act. At the very least, the Title and Summary is both “provided by” the State and “relates to” an

16 election. And by their very terms, both the Zalvidar and Padilla cases only exempted private

17 campaign literature from coverage of the Voting Rights Act, not the highly-regulated limited

18 public forums that California law deems initiative petitions to be. See San Francisco 49ers v.

19 Nishioka, 75 Cal.App.4th 637, 648 (1999). In this regard, the Melendez Plaintiffs ignore the
20 numerous other State-required content – in addition to the State provided and funded Title and

21 Summary – that is required to be contained within initiative petitions, including a WARNING TO

22 VOTERS. See Elec. Code §§ 9101, 9109, 100, 101.

23              Moreover, in Montero, the 10th Circuit noted that “during the circulation process, those

24 who are opposed to the adoption of the measure are limited to refusing to sign the petition or

25 speaking out against it. There is no other means to register opposition under the Colorado

26 procedure until the measures reaches the ballot.” Montero, 861 F.2d at 607. In contrast, under

27 California law, the Elections Code expressly permits “withdrawal campaigns” that allow voters to

28 withdraw signatures once they have signed petitions. See Elec. Code § 9602. The Declaration of


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 1 Maria Buell demonstrates the irreparable injury that has occurred in this context as a result of the

 2 Melendez Plaintiffs’ failure to adhere to Zalvidar and Padilla. See Buell Decl. at ¶ 16. Moreover,

 3 the dissenting Judge in Padilla clearly understood that the majority opinion would apply to both

 4 recall and initiative petitions. See Padilla, 429 F.3d at 924-26. In this regard, the Padilla decision

 5 itself had less to do with a comparison of California law versus Colorado and Florida law, and

 6 more to do with a prototypical Section 203 analysis, which looks at whether the State “provides”

 7 material that is “related to” an election. Under this analysis, at the very least, the Title and

 8 Summary clearly falls under the coverage of Section 203.

 9              In sum, under any fair and honest reading of both Zalvidar and Padilla, it is clear that the

10 rationale of both cases clearly applies to initiative petitions. And because they are opinions of the

11 Ninth Circuit, they are binding on District Courts throughout the Circuits. The Melendez

12 Plaintiffs’ attempts to reject the rationale of each case, and instead import the alleged rationale of

13 Montero and Delgado lies with the Ninth Circuit, not with this Court. See Hart v. Massanari, 266

14 F.3d 1155, 1170 (9th Cir. 2001).

15              The second attempt at deflection by the Melendez Plaintiffs is found in footnote six of their

16 March 17 Memorandum, where they attempt to claim that initiative petitions do not “relate to” an

17 election because under California’s initiative process, the local agency can adopt an initiative

18 instead of calling an election to save the expense of an election. Little needs to be said about this,

19 for this does nothing to alter the conclusion that Zalvidar and Padilla apply to initiative petitions.
20 In this case, for example, the only possibility that exists is that an election will be held. Moreover,

21 in light of the one hundred years of the use of the State’s initiative process, only one case exists

22 where the local agency actually adopted an initiative measure, as opposed to calling an election.

23 But more to the point, both the Montero and Delgado cases held that the act of signing a petition

24 was not the functional equivalent of voting. See Montero, 861 F.2d at 607 (“Hence, nomination

25 and voting are two different and mutually exclusive acts by definition.”) In contrast, the Padilla

26 court reached the exact opposite conclusion, as has the California Supreme Court. See Padilla,

27 429 F.3d at 921-22 (“[I]n the First Amendment context, the right to vote is inextricably tied to the

28 right to petition and petition signatures are treated the same as votes for constitutional purposes.”);


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 1 DeVita v. Napa, 9 Cal.4th 763, 786 (1995) (“When the people exercise their right of initiative,

 2 then public input occurs in the act of proposing and circulating the initiative itself, and at the

 3 ballot box.”) Again, the Melendez Plaintiffs’ complaints lie with the Ninth Circuit, not with this

 4 Court.

 5              Lastly, the Melendez Plaintiffs’ attempts to cast aspersions on the County and their counsel

 6 should be rejected outright. The proponents of this Initiative (Landwatch) is one of the most

 7 wealthy environmental groups in the nation. They had many additional months to circulate their

 8 measure and could have easily printed copies of the measure in Spanish. They failed to do so at

 9 their own peril.
10                                                       II.

11                                               CONCLUSION

12              The Madrigal Plaintiff’s request for an injunction should be GRANTED and the Melendez

13 Plaintiffs’ request for an injunction should be DENIED.

14                                                             /s/ Mark J. Austin

15                                                             Mark J. Austin
                                                               Attorneys for Plaintiffs
16                                                             ROSARIO MADRIGAL, SABAS
                                                               RANGEL, and MARIA BUELL
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